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                                STATEMENT OF OFFENSE

       In August of 2018, the undersigned was acting in an undercover capacity (“UC”) as part of

the Metropolitan Police Department-Federal Bureau of Investigation (“MPD-FBI”) Child

Exploitation Task Force, operating out of a satellite office in Washington, D.C. During the course

of an investigation involving multiple individuals conspiring to distribute child pornography in a

chat group on an identified online chatting platform, several defendants were arrested for

conspiracy to distribute child pornography. One such defendant cooperated (herein “Cooperator”)

and provided law enforcement permission to assume his online identity.

       On September 3, 2018, the UC reviewed the communications exchanged in a KIK

messenger chat group (herein “KIK Group”) 1 of which the Cooperator was a member. 2 The

undersigned reviewed the activity in the KIK Group and observed images of child pornography

being posted, traded and shared among the group members. A person using the KIK name,

“Lakesidepartier,” later identified as Dustin Livesay as set forth below (herein “LIVESAY”), was

a member of this KIK Group. During the course of the KIK Group exchange observed by the UC,

LIVESAY distributed at least 2 images of child pornography to the KIK Group.

       On January 3, 2019, the UC initiated a private KIK messenger chat with LIVESAY, who

was still using the KIK username “Lakesidepartier.” During the course of that chat, the UC

identified himself as, “a perv dad from the group.” The UC represented that he was the father of

an 8-year-old child. LIVESAY identified himself as a 28 year-old male from Missouri. LIVESAY

asked the UC if he was sexually active with his 8 year-old daughter. LIVESAY claimed to engage



1
  “KIK” is a free mobile application that permits users to send text messages and other content,
including videos and images. KIK also allows members to create groups that allow users to
communicate as a group and send pictures and videos.
2
  The name of the KIK chat group is known to the UC, but is not disclosed herein to protect the
identity of the Cooperator.
                                                1
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in sexual activity with his cousin and stated, “My 6 year-old cousin swallows.” During the course

of the chat, LIVESAY sent the UC images via KIK instant messenger depicting child pornography.

Examples of those images sent by LIVESAY to the UC are as follows:

    1. A close-up image depicting a prepubescent female child’s bare vagina, which appears to
       be covered in semen;

    2. An image depicting a prepubescent female child with her mouth open and an adult male’s
       erect penis nearly touching her face;

    3. An image depicting a prepubescent female child sucking an adult male penis.

       LIVESAY also sent the UC a “Mega Link” 3 during the course of the chat. The link

contained dozens of videos depicting children as young as toddlers being sexually abused by

adults. LIVESAY sent this link to the UC as a “down payment” to convince the UC to show

LIVESAY a nude image of the UC’s purported daughter. LIVESAY also sent the UC an image

of a clothed prepubescent female child, whom LIVESAY stated was his cousin.

       LIVESAY then invited the UC to a KIK group titled “activelyshare,” which LIVESAY

indicated was used to share child pornography. After joining the group, another KIK user from

that group contacted the UC and sent the UC videos depicting child pornography.

       In September, during an initial investigation into LIVESAY, the FBI sent an

Administrative Subpoena to KIK requesting subscriber identification information and IP access

logs associated with the KIK username “lakesidepartier.” KIK’s responded that that account was

subscribed to by an individual with a display name of “Jeff Jones,” an email address of

“firefighterems99@hotmail.com,” and that the device associated with the account was an Iphone.

On January 4, 2019, the FBI confirmed via a second subpoena to KIK, that the subscriber



3
 “Mega Link” is a cloud storage service that allows users to upload and store content, including
images and videos. Users can share content by providing access to the contents of their account
by sharing a link to the account with other users.
                                               2
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identification information and IP access logs associated with the KIK username “lakesidepartier”

remained the same as it was in September, 2018.

       KIK included in the responses in September 2018 and January 2019 IP access logs for the

“lakesidepartier” account spanning August 7, 2018 through September 5, 2018, and December 5,

2018 through January 3, 2019, respectively. Examination of the logs yielded two sets of AT&T

Wireless and CenturyLink owned IP addresses used by the account during both time periods above.

        FBI served an Administrative Subpoena on CenturyLink requesting subscriber

identification and physical service address information associated with the IP address provided by

KIK. 4 CenturyLink responded that the IP address used by “lakesidepartier” during the relevant

periods was 76.3.44.95, and was subscribed to by Mary O’Connor, with a physical service address

of                   , with an associated telephone number of XXX-XXX-XXXX, and an email

of monmo2012@gmail.com. Mary O’Connor, a 54-year-old female, was formerly known as Mary

Livesay, and has resided in that physical address since mid-2008, together with defendant

LIVESAY as set forth below.

       Upon receipt of this information, WFO entered the above address in Rolla, Missouri into

available open source and law enforcement sensitive databases and determined that Dustin

Michael LIVESAY has resided at that address since at least min-2008. The FBI determined that

LIVESAY is a white male, with a date of birth of              , a social security number of XXX-

XX-XXXX, and maintains a Missouri driver’s license bearing number                     and a home

address of                             . LIVESAY is the subscriber to telephone number XXX-

XXX-XXXX, which is an AT&T Wireless number. Using this telephone number, FBI identified




4
  No such subpoena was served upon AT&T Wireless, as the Wireless branch of AT&T does not
retain such records.
                                                3
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a Tango social media account in the name “Dustin Livesay,” the profile photograph for which

depicts a firefighter exiting a building out a window onto a ladder.

       On January 24, 2019 a search warrant for the above address issued out of the United States

District Court for the Eastern District of Missouri was executed. LIVESAY’s mother, Mary

O’Connor, a resident there, was interviewed.         Ms. O’Connor advised that her son, Dustin

LIVESAY stays intermittently with her at that address. She provided information that he works

as a truck driver and also stays in St. Louis. Ms. O’Connor advised as to her son’s employer and

his whereabouts in St. Louis. A review of the IP logs from CenturyLink referred to above

corroborated Ms. O’Connor’s statements about when her son had been staying at her home, as the

dates he used her IP address matched those provided.

       FBI agents in St. Louis located LIVESAY on the evening of January 24, 2019, and

conducted a voluntary non-custodial interview of LIVESAY. LIVESAY agreed to participate in

the interview. During the course of the interview, he admitted to owning the KIK account

“lakesidepartier” and to sending the above described images and link containing child pornography

to the UC from that account. LIVESAY admitted to collecting child pornography and to storing

it in a Dropbox account and a Mega cloud storage account. LIVESAY provided consent to search

those accounts and passwords to them. LIVESAY was placed under arrest for Distribution of

Child Pornography in violation of 18 U.S.C. 2252(a) and his phone was taken into evidence

incident to the arrest. LIVESAY provided a password for the phone as well.




                                                 4
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                                              Respectfully submitted,


                                              _________________________________
                                              Timothy Palchak
                                              Detective
                                              Metropolitan Police Department


Subscribed and sworn to before me
on this _________ day of January, 2019.


____________________________________
DEBORAH A. ROBINSON
UNITED STATES MAGISTRATE JUDGE




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